                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION

UNITED STATES OF AMERICA,                              )
                                                       )       Case No. 1:03-CR-76-4
               vs.                                     )       (Financial Litigation Unit)
                                                       )
GEORGE T. KISER,                                       )

                                     WRIT OF EXECUTION

TO THE UNITED STATES MARSHAL
and ALLIANZ LIFE INSURANCE COMPANY:

        A judgment was entered on December 30, 2005, in the United States District Court for the

Western District of North Carolina, in favor of the United States of America and against the

defendant, George T. Kiser, whose last known address is Lebanon, Virginia 24216, in the sum of

$8,150,922.00. The balance on the account as of August 22, 2008 is $8,096,991.50. $3,333,256.19

has been raised through asset forfeiture. It is anticipated that the Department of Justice will request

those funds to be transferred from the United States Marshal Service to the United States Clerk of

Court at the appropriate time for payment as restitution to victims thereby reducing the balance

owed.

        THEREFORE, YOU ARE HEREBY COMMANDED to levy and/or execute on property

and Allianz Life Insurance Company is commanded to turn over property in which the defendant,

George T. Kiser, has a substantial nonexempt interest, the said property being funds located in

Allianz Life Insurance Company accounts including, but not limited to, account number XXX7442

in the name of George T. Kiser, at the following address: Allianz Life Insurance Company, ....




                                                  Signed: August 22, 2008




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